




NO. 07-07-0464-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 3, 2008

______________________________



O. C. HAWLEY, III, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;



NO. 07-02-6354; HONORABLE HAROLD PHELAN, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

Following a plea of not guilty, Appellant, O. C. Hawley, III, was convicted by the trial court of burglary of a habitation, enhanced, and sentenced to forty years confinement. &nbsp;Appellant timely filed a notice of appeal challenging his conviction. &nbsp;The clerk’s record filed on December 27, 2007, contains the Trial Court’s Certification of Defendant’s Right of Appeal. &nbsp;The form, however, is not signed by Appellant as required by Rule 25.2(d) of the Texas Rules of Appellate Procedure.
(footnote: 1)
	Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;Upon remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal in compliance with Rule 25.2(d). &nbsp;Once properly executed, the certification shall be included in a supplemental clerk’s record and filed with this Court on or before February 4, 2008.

It is so ordered.

Per Curiam

Do not publish.

FOOTNOTES
1:Rule 25.2(d) was amended to require that a defendant sign the certification and receive a copy. &nbsp;The amendment became effective September 1, 2007.




